THE FOLLOWING ORDER
IS APPROVED AND ENTERED
AS THE ORDER OF THIS COURT:

DATED: March 19, 2010
                                                       Honorable Susan V. Kelley
                                                       United States Bankruptcy Judge




                                 UNITED STATES BANKRUPTCY COURT
                                  EASTERN DISTRICT OF WISCONSIN


In the Matter of

          NETWURX, INC.,                                             Case No. 08-26131-svk
                                                                     Chapter 11
                  Debtor.


                                          FINAL DECREE



          The estate of the above named debtor has been fully administered.

          The debtor’s plan has been substantially consummated.

          IT IS ORDERED THAT the chapter 11 case of the above named debtor is closed.


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Drafted By:

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